                          Case 1:22-mj-05293-JGD
2-6   5HYLVHG86'&0$           Document 1-2 Filed 09/30/22 Page 1 of 2
Criminal Case Cover Sheet                                                        U.S. District Court - District of Massachusetts

Place of Offense:                       Category No.       II                    Investigating Agency        FBI

City      Lynn MA                               Related Case Information:

County       Essex                              6XSHUVHGLQJ,QG,QI                            &DVH1R
                                                6DPH'HIHQGDQW                               1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU             22-5293-JGD; See 2nd Page
                                                6HDUFK:DUUDQW&DVH1XPEHU             See 2nd Page
                                                55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         CAIO FELIPE OLIVEIRA DOS SANTOS                       -XYHQLOH               G <HV G
                                                                                                           ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU         G          ✔
                                                                                                         <HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH
                      1995
%LUWKGDWH <URQO\ BBBBB661                      M
                                  ODVW BBBBBBBB 6H[BBBBB          5DFHBBBBBBBBBBB                        Brazilian
                                                                                                 1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                       $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA         Kristen A. Kearney; David M. Holcomb                   %DU1XPEHULIDSSOLFDEOH      669940; 694712

Interpreter:            ✔
                        G <HV       G 1R                  /LVWODQJXDJHDQGRUGLDOHFW          Portuguese

Victims:               ✔
                       G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G            ✔ <HV
                                                                                                             G            1R

Matter to be SEALED:               ✔
                                   G <HV        G     1R

          G✔ :DUUDQW5HTXHVWHG                      G 5HJXODU3URFHVV                        G ,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                LQ                                       
G $OUHDG\LQ6WDWH&XVWRG\DW                                       G 6HUYLQJ6HQWHQFH              G $ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH       2UGHUHGE\                                            RQ

Charging Document:                  ✔ &RPSODLQW
                                    G                           G ,QIRUPDWLRQ                    G ,QGLFWPHQW
                                                                                                                 1
Total # of Counts:                  G 3HWW\                  G0LVGHPHDQRU                   G )HORQ\
                                                                                                 ✔

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     09/29/2022                       6LJQDWXUHRI$86$ V.ULVWHQ$.HDUQH\
                         Case 1:22-mj-05293-JGD Document 1-2 Filed 09/30/22 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 CAIO FELIPE OLIVEIRA DOS SANTOS

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged   Count Numbers

6HW     18 U.S.C. Section 1349                         Conspiracy to commit wire fraud                       1


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:                              M.J. Case Numbers: 21-5196-JGD; 21-mj-5202-JGD;

 Search Warrant Numbers: 20-mj-5085, 20-mj-5086, 20-mj-5087, 20-mj-5088, 20-mj-5367, 21-mj-5159, 21-mj-5160, 21-mj-5161,

 21-mj-5200, 21-mj-5203, 21-mj-5204, 21-mj-5205, 21-mj-5206, 21-mj-5207, 21-mj-5208, 21-mj-5209, 21-mj-5210,

21-mj-5211, 21-mj-5212, 21-mj-5213, 21-mj-5214, 21-mj-5215, 21-mj-5216, 21-mj-5299, 21-mj-5300

86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
